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 Attorneys for Plaintiff




                                         UNITED STATES DISTRICT COURT

                                          FOR THE DISTRICT OF IDAHO

 REBECCA SCOFIELD,                                        Case No. 3:22-cv-00521-REP

                            Plaintiff,                    DECLARATION OF WENDY J.
                                                          OLSON IN SUPPORT OF
          v.                                              PLAINTIFF’S AMENDED MOTION
                                                          FOR PARTIAL SUMMARY
 ASHLEY GUILLARD,                                         JUDGMENT
                            Defendant.


         I, Wendy Olson, declare as follows:

               1. I am an attorney at Stoel Rives LLP and am counsel for Plaintiff Rebecca Scofield

    in the above-captioned action. I am over the age of 18 and am competent to testify to the

    matters set forth herein.

               2. Attached as Exhibit A is a true and correct copy of Defendant Ashley Guillard’s

    Responses to Plaintiff’s First Set of Interrogatories, Requests for Production of Documents,

    and Requests for Admission to Defendant Ashley Guillard. Plaintiff’s First Set of

    Interrogatories, Requests for Production of Documents, and Requests for Admission were


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    served on June 20, 2023, and Ms. Guillard responded to only the Requests for Admission on

    December 15, 2023, the same day that fact discovery closed under the Court’s Scheduling

    Order.

              3. Attached as Exhibit B is a true and correct copy of a cease and desist letter I sent

    to Ms. Guillard on November 28, 2022.

              4. Attached as Exhibit C is a true and correct copy of a cease and desist letter I sent

    to Ms. Guillard on December 8, 2022.

              5. Attached as Exhibit D is a true and correct copy of a December 27, 2022, press

    release from the Moscow Police Department.

              6. Attached as Exhibit E is a true and correct copy of a TikTok published by Ms.

    Guillard dated November 26, 2022, and saved under the file name F1026640.

              7. Attached as Exhibit F is a true and correct copy of a TikTok published by Ms.

    Guillard dated November 28, 2022, and saved under the file name F1026586.

              8. Attached as Exhibit G is a true and correct copy of a TikTok published by Ms.

    Guillard dated November 28, 2022, and saved under the file name F1026691.

              9.   Attached as Exhibit H is a true and correct copy of a TikTok published by Ms.

    Guillard dated December 1, 2022, and saved under the file name F1026645.

              10. Attached as Exhibit I is a true and correct copy of a TikTok published by Ms.

    Guillard dated December 2, 2022, and saved under the file name F1026633.

              11. Attached as Exhibit J is a true and correct copy of a TikTok published by Ms.

    Guillard dated December 5, 2022, and saved under the file name F1026594.

              12. Attached as Exhibit K is a true and correct copy of a TikTok published by Ms.

    Guillard dated December 5, 2022, and saved under the file name F1026600.


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              13. Attached as Exhibit L is a true and correct copy of a TikTok published by Ms.

    Guillard dated November 25, 2022, and saved under the file name F1026693.

              14. Attached as Exhibit M is a true and correct copy of a TikTok published by Ms.

    Guillard dated December 13, 2022, and saved under the file name F1026584.

              15. Attached as Exhibit N is a true and correct copy of a subpoena duces tecum

    served on the University of Idaho, as well as the response to the subpoena.

              16. Attached as Exhibit O is a true and correct copy of a screen shot of a TikTok post

    published by Ms. Guillard dated and showing the number of likes and shares.

              17. Attached as Exhibit P is a true and correct copy of Plaintiff’s First Set of

    Interrogatories, Requests for Production, and Requests for Admission, which were served on

    Plaintiff by email to msashleyjt@gmail.com on June 20, 2023. Although Ms. Guillard

    responded to Plaintiff’s Request for Admissions on December 15, 2023, she did not respond

    to Plaintiff’s First Set of Requests for Production or Requests for Admission.

              18. Attached as Exhibit Q is a true and correct copy of a letter I wrote and cover

    email sent to Ashley Guillard on December 20, 2023, regarding Ms. Guillard’s failure to

    respond to Plaintiff’s First Set of Interrogatories and Requests for Production.

              19. Attached as Exhibit R is a true and correct copy of an email that Ms. Guillard

    sent me on January 1, 2024.

              20. As of the date of this declaration, Ms. Guillard has not further responded to my

    December 20, 2023, letter and has not responded to Plaintiff’s First Set of Interrogatories or

    Requests for Production.

              21. Attached as Exhibit S is a true and correct copy of the University of Idaho’s

    response to Ms. Guillard’s subpoena for documents.


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              22. Attached as Exhibit T is a true and correct copy of the Indictment in State v.

    Kohberger, CR 29-22-2805.

         I declare under penalty of perjury under the laws of the United States that the foregoing is

true and correct.

         DATED: January 12, 2024.
                                                       STOEL RIVES LLP



                                                       /s/ Wendy J. Olson
                                                       Wendy J. Olson




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                                 CERTIFICATE OF SERVICE

         I hereby certify that on January 12, 2024, I served a copy of the foregoing via CM/ECF on

the Registered Participant as follows:

         Ashley Guillard
         msashleyjt@gmail.com


                                              /s/ Wendy J. Olson
                                              Wendy J. Olson




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